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'Sheetl- ludgmem 111 a%r?`n§£al %as:|e(\5»11%|.8ugeOrv:?s§clSReici§seB(Re\p(())?(/£le‘/T)]ent 628 Filed 04/27/18 Page 1 Of 6 JudgmcntPage lof 6

United States 'Dish§ifit§@ourt
District oszRRYlpq%M l 32

c .
UNiTED sTATEs oF AMERICA JHF§MP A CRIMINAL CASE
UF\‘P

 

BY (For itted on or At`ter November 1,1987)
v.
ease 9513@§»1§,`1-16-€11-00363~008
NORMAN TYRONE HANDY

Defendant’s Attorney: Ryan L Burke, CJA
Assistant U».S. Attorney: Peter J Martinez & Christine
Hoffman 1 ;, - ’

THE DEFENDANT:

® pleaded guilty to count(s) ls (Second Superseding Indictment)"

111 pleaded nolo contendere to count(s) ,Which was accepted by the court.

l:| was found guilty on count(s)

 

after a plea of not guilty...,,

» ' ' Date Count
Title &,Section 'Nature of Ofi`ense ` w Oi`fense Concluded Number§s[
18:1962(d) Conpiracy To Participate 111 ` _ ‘ 09/20/2017 ls

Racketeering Enterprise.`

The defendant is adjudged guilty of the offenses listed above and sentenced as provided in pagesZ
through 6 of this judgment The sentence is imposed pursuant to the Sentencing Reform Act of 1984 as
modified by U.S. v. Booker, 543 U. S. 220 (2005).

ij The defendant has been found not guilty on count(s)___ 1
§ Count 25 of the Second Superseding lndictment and the Supersedina Indictment are dismissed on the
motion of the United States.

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
Within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are fully paid.

Apri123. 2018
Date of lmposition of Judgment

[?@M,_Vn/ /;»L. £1~/27_ egg

James K. Bredar Date
United States District Judge

Name ot`Court Reporter: Nadine Gazic

Case 1:16-cr-00363-.]KB Document 628 Filed 04/27/18 Page 2 of 6

Sheet 2 - Judgment in a Crimina| Case with Supervised Release (Rev` 0'1‘.2017} Judgment Page 2 of 6
DEFENDANT: Norman Tyrone Handy CASE NUMBER: JKB-l-lG-CR-OOBdB-OOB

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
for a total term of 142 months, to be served consecutive to the sentence imposed in State Circuit Court
case numbers 113346031 and 113310036.

The court mak es the following recommendations to the Bureau of Prisons:

That the defendant participate in any substance abuse program for which he may be eligible

That the defendant participate in any appropriate mental health evaluation and treatment program.
That the defendant be given credit for time served from March 31, 2017 to present '
'l`hat the defendant shall satisfactorily participate ina vocational or educational program.

Provided the security level is appropriate the defendant shall be designated to the FCI at Ft. Dix. The
Bureau of Prisons shall specifically consider how many other Baltimore BGF members are
currently incarcerated at FCI Ft. Dix, and then determine whether such a designation is
appropriate

|Xl "fhe def endant is remanded to the custody of the United States Marshal.

5'"."*~‘:*’!\3!"

l:l The defendant shall surrender to the United States Mar_shal for this district:

|:l at a.m./p.m. on .
l:l as notified b y the United States lvlarshal.

E The defendant shall surrender, at his/her own expense, to the institution designated by the Bureau of Prisons
at the date and time specified in a Written notice to be sent to the defendant by the United States` Marshal. If
the defendant does not receive such a written notice, defendant shall surrender to the United States Marshal:

 

|:| before 2pm on

A defendant Who fails to report either to the designated institution or to the United States Marshal as
directed shall be subject to the penalties of 'I`itle 18 U.S.C. §3146. If convicted of an offense While on
release, the defendant shall be subject to the penalties set forth in 18 U.S.C. §3147. For violation of a
condition of release, the defendant shall be subject to the sanctions set forth in Title 18 U.S.C. §3148. Any
bond or property posted may be forfeited and judgment entered against the defendant and the surety in
the full amount of the bond.

RETURN

1 have executed this judgment as follows'.

Defendant delivered on to 1 at , with a certified copy of this judgment

 

uNtTED sTATEs MARSHAL

By:
DEPUTY U.S. MARSHAL

 

Case 1:16-cr-00363-.]KB Document 628 Filed 04/27/18 Page 3 of 6
Sheet 3 » Judgment in a Criminal Case with Superviscd Release (Rev. 072017) ludgment Page 3 of 6
DEFENDANT: Norman 'I`yrone Handy CASE NUMBER: JKB-l-l6-CR-00363-008

SUPERVISE]) RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 years.

The defendant shall comply With all of the following conditions:

The defendant shall report to the probation office in the district to which the defendant is released within 72
hours of release from the custody of the Bureau of Prisons.

A. MANDATORY CONDITIONS

l) You must not commit another federal, state or local crime

2) You must not unlawfully possess a controlled substance

3) You must refrain from any unlawful use of a controlled substance You must submit to one drug test within 15 days of release
from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

l:l The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future substance
abuse (check afa/nplicable)

4) 13 You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663/31 or any other statute authorizing a sentence of
restitution. (check ifapplicable)

5) l:| You must cooperate in the collection of DNA as directed by the probation officer. (check ifapplr'cable)

6) l:l You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, er seq.)
as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense (check ifapplr'cab!e)

7) [] You must participate in an approved program for domestic violence (check Japplicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page

B. STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

l) You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
time frame

2) After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed

3) You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.

4) You must answer truthfully the questions asked by your probation officer.

5) You must live at a place approved by the probation officer. lf you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change ]f
notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
officer within 72 hours of becoming aware of a change or expected change

6) You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7) You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer
excuses you from doing so. lf you plan to change where you work or anything about your work (such as your position or yourjob
responsibilities), you must notify the probation officer at least 10 days before the change lf notifying the probation officer at
least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours
of becoming aware of a change or expected change

8) You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of

the probation officer.

 

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Sheet 4 - Judgment in a Criminal Case with Supcrvised Re|ease (Rev. 0712017) Juclgment Page 4 of 6
DEFENDANT: Norman Tyrone Handy CASE NUMBER: JKB-l-lé-CR-00363-008

9) If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10) You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or

tasers).
11) You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant

without first getting the permission of the court

12) If the probation officer determines that you pose a risk to anotherperson (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instructionl The probation officer may contact the
person and confirm that you have notified the person about the risk.

13) You must follow the instructions of the probation officer related to the conditions of supervisionl

C. SUPERVISED RELEASE
ADDITIONAL CONDITIONS

1. You must participate in a substance abuse treatment program and follow the rules and regulations of that
program. The probation officer will supervise your participation in the program (provider, location, modality,
duration, intensity, etc.).

2. You must submit to substance abuse testing to determine if you have used a prohibited substance You must
not attempt to obstruct or tamper with the testing methods

3. You must participate in a mental health treatment program and follow the rules and regulations of that
program. The probation officer, in consultation With the treatment provider, will supervise your participation in
the program (provider, location, modality, duration, intensity, etc.).

4. You must participate in a vocational services program and follow the rules and regulations of that program.
Such a program may include job readiness training and skills development training. ‘

5, You must participate in an educational services program and follow the rules and regulations of that program.
Such programs may include high school equivalency preparation, English as a Second Language classes, and 7
other classes designed to improve your proficiency in skills such as reading, writing, mathematics, or computer

US€.

U.S. Probation Oflice Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
' judgment containing these conditions For further information regarding these conditions, see Overvr`ew ofProbarr'on andSuperw`sed

Re[ease Condr`tr'ons, available at: www.uscourts.gov.

Defendant's Signature Date

 

Case 1:16-cr-00363-.]KB Document 628 Filed 04/27/18 Page 5 of 6

Sheet 5, Part A - Judgment in a Criminal Case with Supervised Release (Rev. 07/2017} judgment Page 5 of 6
DEFENDANT: Norman Tyrone Handy CASE NUMBER: JKB-l-lé-CR»00363-008

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $100.00 $.00 $.00
ij CVB Processing Fee $30.00
[] The determination of restitution is deferred until . An Amended Judgment in cr Crr'minal Case (AO 245C)

will be entered after such determination
|:l The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
lf the defendant makes a partial payment, each payee shall receive an approximately proportioned payrnent, unless specified

otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal
victims must be paid before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage
$.00
TOTALS $ $ $0.00

___._--_-»

Restitution amount ordered pursuant to plea agreement

l:l The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
before the fifteenth day after the date of the judgrnent, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6
may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

l:l The court determined that the defendant does not have the ability to pay interest and it is ordered that:
l:l the interest requirement is waived for the [l fine l:l restitution

|:l the interest requirement for the l:| fine l:l restitution is modified as follows:

 

* Findings for the total amount of losses are required under Chapters 109A, 110, llOA, and 113A of Title 18 for offenses
committed on or after September 13, 1994, but before April 23, 1996.

 

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Sheet 6 - Judgment in a Criminal Case with Supervised Release (Rev. 0720]7) Judgmcnt Page 6 of 6
DEFENDANT'. Norman Tyrone Handy - CASE NUMBER: JKB-l-16-CR-00363-008

SCHEDULE OF PAYMENTS

Payments shall be applied in the following order1 (l) assessment1 (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.

Payment of the total fine and other criminal monetary penalties shall be due as follows:

A In full immediately; or

 

B l:l $____ immediately, balance due (in accordance with C, D, or E); or

C |:l Not later than ; or

D |:l lnstallments to commence ___ day(s) after the date of this judgment

E [! ln ____ (e.g. equal weekly, monrhly, quarterly) installments of $__ over a period of ____ year(s) to commence

when the defendant is placed on supervised release
The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed
Unless the court expressly orders otherwise, if this judgment imposes a period of` imprisonment, payment of criminal monetary
penalties shall be due during the period of imprisonmentl All criminal monetary penalties, except those payments made through the

Bureau of Prisons lnmate Financial Responsibility Program, are to be made to the Clerk of the Court.

El NO RESTlTUTION OR OTHER FlNANClAL PENALTY SHALL BE COLLECTED THROUGH THE INMATE
FINANC]AL RESPONS!BILITY PROGRAM.

lf the entire amount of criminal monetary penalties is not paid prior to the commencement of supervision, the balance shall be paid'.
E in equal monthly installments during the term of supervision; or

|:l on a nominal payment schedule of $ per month during the term of supervision

The U.S. probation officer may recommend a modification of the payment schedule depending on the defendant’s financial
circumstances

Special instructions regarding the payment of criminal monetary penalties:

[l Joint and Several

Defendant and Co-Defenclant Names and Case Numbers (including defendant number), Total Arnount, Joint and Several Arnount,
and corresponding payee, if appropriate

The defendant shall pay the cost of prosecutionl
The defendant shall pay the following court cost(s):

The defendant shall forfeit the defendant’s interest in the following property to the United States:

